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D.’STR|CT OF M.AF!YLAND

James D Feininger BY °EP“"
9 wooded way

Linco|n University PA. 19352 Civi| Action No.
lames.feininger@gmai|.com 1:18-cv-01606-JKB

 

302-547-5197
Hu|| |.D CCHEJ317K586

' |Vly name is James D Feininger and l am the owner of the 1986
Chris Craft Cata|ina 381 Hu|| i.D CCHE1317K586.

l\/iy boat was docked at the Char|estown |V|arina on December
11,2018 at dock 23.

The fire occurred on December 11, 2017 at dock 21 boat owned
by l\/lr. Stephen Wi||is the fire spread to dock 22 and then to my boat at
dock 23. IViy boat sustained damage to the Canvas, Upper deck and
other items.

| had estimates done for the canvas, interior work and for the
Fiberglass and other damages. Estimate damage is between 25-28
thousand dollars.

The value of the boat is between 40-45 thousand doi|ars_based on
the last insurance appraisal for replacement cost and upgrades sense
insurance appraisa|.

l would like to see my boat restored to its original condition
before the fire. if my boat is determined to be at a total loss. l request
that l receive between 40 and 45 thousand dollars for the boat.

l also request the amount of $22,195.78 dollars for the following
items

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Persona| items destroyed by the fire $1800.00 dollars
Loss of use of boat with family $6,600.00 dollars

¢ Stress and mental duress $10,000 dollars
Biiis that incurred sense the fire to be reimbursed 53795.78

l have estimates, photographs, invoices, and itemized list of
damage available at your request. l have before and after photographs

of the boat.

Date 7"5" /5/ %W §§ W
V

James D Feininger

